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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
          In re                                         Case No. 22-11068-JTD
          FTX Trading Ltd., et al.,                     (Jointly Administered)
          Debtors.1


                  NOTICE OF APPEAL AND STATEMENT OF ELECTION

Part 1: Identify the appellant(s)

1. Name(s) of appellant(s):

   Bloomberg L.P.; Dow Jones & Company, Inc.; The New York Times Company; and The Fi-
   nancial Times Ltd.

2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
   of this appeal:

       For appeals in an adversary proceeding.     For appeals in a bankruptcy case and not in
        Plaintiff                                 an adversary proceeding.
        Defendant
       X Other (describe): Media Intervenors        Debtor
                                                    Creditor
                                                    Trustee
                                                    Other (describe)

Part 2: Identify the subject of this appeal

   1. Describe the judgment, order, or decree appealed from: June 15, 2023 order of the U.S.
       Bankruptcy Court for the District of Delaware, granting, in part, the motion of FTX Trad-
       ing Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”)
       and the Official Committee of Unsecured Creditors over the objections of Media Interve-
       nors-Appellants and the U.S. Trustee, and authorizing the redaction of the names, ad-
       dresses and e-mail addresses of Debtors’ customers from any filings with the Court for a
       period of at least 90-days pursuant to Bankruptcy Code Section 107(b)(1); and (b) the
       permanent redaction of the names of Debtors’ customers who are natural persons from all

   1
      FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063, respectively. Due to the large number of debtor entities in these Chapter 11 cases, a com-
plete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debt-
ors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
                                                  1
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       filings with the Court pursuant to Bankruptcy Code Section 107(c)(1). See Order Author-
       izing the Movants to Redact or Withhold Certain Confidential Information of Customers
       and Personal Information of Individuals, D.I. 1643. A true and correct copy of the June
       15, 2023 order is attached hereto as Exhibit A.

   2. State the date on which the judgment, order, or decree was entered: June 15, 2023.

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, ad-
dresses, and telephone numbers of their attorneys (attach additional pages if necessary):


Debtors and Debtors-in-Possession:
       Adam G. Landis, Esquire
       LANDIS RATH & COBB, LLP
       919 Market Street
       Suite 1800
       Wilmington, Delaware 19801
       302-467-4400

       Brian D. Glueckstein, Esquire
       SULLIVAN & CROMWELL, LLP
       125 Broad Street
       New York, New York 10004
       212-558-4000

US Trustee:
      Juliet M. Sarkessian, Esquire
      OFFICE OF THE UNITED STATES TRUSTEE
      UNITED STATES DEPARTMENT OF JUSTICE
      844 King Street
      Suite 2207, Lockbox 35
      Wilmington, Delaware 19801
      302-573-6491

Ad Hoc Committee of Non-US Customers of FTX.com
      David A. Wender, Esquire
      EVERSHEDS SUTHERLAND (US), LLP
      999 Peachtree Street, NE
      Suite 2300
      Atlanta, Georgia 30309
      404-853-8175

Official Committee of Unsecured Creditors:
        Kenneth Pasquale, Esquire
                                                2
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       Isaac Sasson, Esquire
       PAUL HASTINGS, LLP
       200 Park Avenue
       New York, New York 10166
       (212) 318-6000

Media Intervenors:
       David L. Finger
       FINGER & SLANINA, LLC
       One Commerce Center
       1201 N. Orange St., 7th fl.
       Wilmington, DE 19801
       302.573.2525

       KatieLynn B. Townsend, Esquire (pro hac vice)
       REPORTERS COMMITTEE FOR FREEDOM OF
        THE PRESS
       1156 15th Street, NW
       Suite 1020
       Washington, DC 20005
       202.795.9300


A list of all parties and attorneys that have entered appearances in this matter according to
PACER is attached hereto as Exhibit B and incorporated by reference herein.

                                                  Respectfully submitted,

Dated: June 22, 2023                              /s/ David L. Finger
                                                  David L. Finger (ID #2556)
                                                  FINGER & SLANINA, LLC
                                                  One Commerce Center
                                                  1201 N. Orange St., 7th fl.
                                                  Wilmington, DE 19801
                                                  302.573.2525
                                                  Katie Townsend (pro hac vice)
                                                  THE REPORTERS COMMITTEE FOR
                                                  FREEDOM OF THE PRESS
                                                  1156 15th Street NW, Suite 1020
                                                  Washington, DC 20005
                                                  202.795.9300
                                                  ktownsend@rcfp.org
                                                  Counsel for Media Intervenors


                                                 3
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  EXHIBIT A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)
                                                                Ref. Nos. 545, 1324 & 1641


              ORDER AUTHORIZING THE MOVANTS TO REDACT OR
             WITHHOLD CERTAIN CONFIDENTIAL INFORMATION OF
           CUSTOMERS AND PERSONAL INFORMATION OF INDIVIDUALS

                  Upon the joint motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”) and the Official Committee of

Unsecured Creditors appointed in the above-captioned cases (the “Committee” and, together with

the Debtors, the “Movants”), for entry of an order (this “Order”) authorizing the Movants to redact

(a) the names, addresses and e-mail addresses of the Debtors’ customers from any filings with the

Court or made publicly available in these Chapter 11 Cases and (b) the names, addresses and e-

mail addresses of any creditors or equity holders who are natural persons and who are protected

by the GDPR or Japan data privacy laws from any filings with the Court or made publicly available

in these Chapter 11 Cases; and this Court having jurisdiction to consider the Motion pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court being able to



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
{1368.002-W0070617.}
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issue a final order consistent with Article III of the United States Constitution; and venue of these

Chapter 11 Cases and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court

having found that proper and adequate notice of the Motion and the relief requested therein has

been provided in accordance with the Bankruptcy Rules and the Local Rules, and that, except as

otherwise ordered herein, no other or further notice is necessary; and a hearing having been held

to consider the relief requested in the Motion and upon the record of the hearing and all of the

proceedings had before this Court; and this Court having found and determined that the relief set

forth in this Order is in the best interests of the Debtors and their estates; and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.   The Motion is GRANTED in part, and DENIED in part, as set forth herein,

for the reasons set forth on the record at the hearing on the Motion on June 9, 2023.

                  2.   The Debtors and the Committee are each authorized, pursuant to section

107(b)(1) of the Bankruptcy Code, to redact the names, addresses and e-mail addresses of all of

the Debtors’ customers from all filings with the Court or made publicly available in these Chapter

11 Cases; provided, however, that the authorization to redact the names of all customers, and to

redact the names, addresses and e-mail addresses of customers who are not natural persons, is only

until the date that is 90 days from the date of the entry of this Order (such date, the “Extended

Redaction Deadline”); provided, further that the time period in which the Debtors and the

Committee are authorized to redact the names of customers who are natural persons is governed

by paragraph 4 of this Order; provided, further that the authorization to redact the names of




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customers, whether they are natural persons or entities, and the addresses of customers who are

not natural persons, is limited to those documents in which disclosure would indicate the status of

such person or entity as a customer.

                  3.   The right of the Debtors, the Committee, and all other parties-in-interest to

seek an extension of the Extended Redaction Deadline, or to request authorization to redact any

personal information of customers, creditors or equity holders on any other grounds, are reserved.

                  4.   The Debtors and the Committee are each authorized, pursuant to section

107(c)(1) of the Bankruptcy Code, to permanently redact the names of all customers who are

natural persons from all filings with the Court or made publicly available in these Chapter 11 Cases

in which disclosure would indicate such person’s status as a customer.

                  5.   The Motion is denied with respect to the Movants’ request to redact the

names, addresses and e-mail addresses of any creditors or equity holders who are natural persons

from any filings with the Court or made publicly available in these Chapter 11 Cases on the basis

that such persons are protected by the GDPR or Japan data privacy law.

                  6.   For the avoidance of doubt, the Debtors and the Committee shall each file

unredacted versions of any papers redacted pursuant to this Order under seal with the Court in

accordance with the Local Rules.

                  7.   Notwithstanding anything to the contrary in the order relating to the

retention of a claims agent, or any Local Rules or Bankruptcy Rules, the Claims and Noticing

Agent is authorized to (a) suppress from the Claims Register (i) the names, addresses and e-mail

addresses of the Debtors’ customers until the Extended Redaction Deadline, and (ii) the names of

the Debtors’ customers who are natural persons; (b) file affidavits of services redacting (i) the

names, addresses and e-mail addresses of the Debtors’ customers until the Extended Redaction




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Deadline, and (ii) the names of the Debtors’ customers who are natural persons; and (c) withhold

publication of proofs of claim filed by customers in accordance with the terms of this Order,

provided that the Claims and Noticing Agent shall serve the Debtors’ customers, creditors and

equity holders at their actual addresses and e-mail addresses.

                  8.    The Debtors and the Committee shall each provide unredacted copies of any

filings redacted pursuant to this Order to (a) the U.S. Trustee, counsel to the Committee, the

Debtors, and any trustee or examiner that is appointed in these Chapter 11 Cases, except that

unredacted copies of affidavits of service shall be provided only upon request; (b) upon request to

the U.S. Department of Justice, counsel to the U.S. Securities and Exchange Commission, counsel

to state governmental agencies of the State of Texas; and (c) upon further order of the Court, any

other party.

                  9.    Upon request of a party-in-interest, the Court may, upon a showing of good

cause, release some or all of the information that is being redacted pursuant to the authority granted

by this Order. All parties’ rights in this regard are reserved.

                  10.   To the extent a party-in-interest files a document on the docket in these

Chapter 11 Cases that is required to be served on creditors whose information is under seal

pursuant to this Order, such party-in-interest should contact counsel for the Debtors who shall

work in good faith, with the assistance of their Claims and Noticing Agent, to effectuate the service

on such party’s behalf.

                  11.   Nothing in this Order prohibits any customer, creditor or equity holder from

voluntarily identifying itself in connection with these Chapter 11 Cases, or voluntarily disclosing

any of their contact information. Nothing in this Order exempts any customer, creditor or equity

holder from compliance with Bankruptcy Rule 2019.




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               12.     Nothing in this Order alters the Original Order’s authorization of the

Debtors to redact addresses and e-mail addresses of the Debtors’ customers, creditors and equity

holders who are natural persons.

               13.     Nothing in this Order alters the Original Order’s requirement that the name

of any creditor who was appointed by the U.S. Trustee to the Official Committee of Unsecured

Creditors, and the address, e-mail address or phone numbers of any creditor who is not natural

persons and was appointed by the U.S. Trustee to the Official Committee of Unsecured Creditors

not be redacted from the Debtors’ refiled Consolidated Lists of Top 50 Creditors.

               14.     Each of the Movants are authorized and empowered to execute and deliver

such documents, and to take and perform all actions necessary to implement and effectuate the

relief granted in this Order.

               15.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.




        Dated: June 15th, 2023                           JOHN T. DORSEY
        Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




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   EXHIBIT B
Internal CM/ECF Live Database                                                  https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
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                                                22-11068-JTD FTX Trading Ltd.
                                 Case type: bk Chapter: 11 Asset: Yes Vol: v Judge: John T. Dorsey
                                        Date filed: 11/11/2022 Date of last filing: 06/21/2023



                                                          Attorneys


          Derek C. Abbott
          Morris, Nichols, Arsht & Tunnell
          1201 N. Market Street
          P.O. Box 1347
          Suite 1600                                                 BlockFi Inc and affiliates
                                                      representing
          Wilmington, DE 19801                                       (Interested Party)
          (302) 658-9200
          302-658-3989 (fax)
          dabbott@morrisnichols.com
           Assigned: 11/15/2022
          Michael D. Anderson
          Kelly Hart & Hallman LLP
          201 Main Street, Suite 2500
          Fort Worth, TX 76102                                       Word of God Fellowship, Inc.
                                                      representing
          817-878-3506                                               (Creditor)
          michael.anderson@kellyhart.com
           Assigned: 12/12/2022
           LEAD ATTORNEY
          Richard D. Anigian
          Haynes and Boone, LLP
          2323 Victory Avenue
          Suite 700                                                  BlockFi Inc and affiliates
                                                      representing
          Dallas, TX 75219                                           (Interested Party)
          (214) 651-5000
          Rick.Anigian@haynesboone.com
           Assigned: 11/15/2022
          Daniel K. Astin
          Ciardi, Ciardi & Astin                                   Charles Mason
          1204 N. King Street                                      CIARDI CIARDI & ASTIN
          Wilmington, DE 19801                                     1905 Spruce Street
          (302) 658-1100                              representing Philadelphia, PA 19103
          (302) 658-1300 (fax)                                     215-557-3550
          dastin@ciardilaw.com                                     aciardi@ciardilaw.com
           Assigned: 12/19/2022                                    (Interested Party)
            TERMINATED: 06/08/2023
           Assigned: 12/19/2022                                    Peter Lau
           TERMINATED: 06/08/2023                     representing CIARDI CIARDI & ASTIN



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                                                                   1905 Spruce Street
                                                                   Philadelphia, PA 19103
                                                                   215-557-3550
                                                                   aciardi@ciardilaw.com
                                                                   (Interested Party)
           Assigned: 01/17/2023                                  Edward Moncada
           TERMINATED: 06/08/2023                                c/o Waller Lansden Dortch & Davis, LLP
                                                                 100 Congress Avenue
                                                                 l 81h Floor
                                                    representing
                                                                 Attn: Morris D. Weiss
                                                                 Austin, TX 78701
                                                                 (Interested Party)
                                                                 PRO SE
          Mary E. Augustine
          A M Saccullo Legal, LLC                                Celsius Network LLC
          27 Crimson King Drive                                  The Harley Building
          Bear, DE 19701                                         77-00079 New Cavandish Street
                                                    representing
          302-836-8877                                           London
          302-836-8787 (fax)                                     United Kingdom
          meg@saccullolegal.com                                  (Creditor)
           Assigned: 12/02/2022
          James E. Bailey III
          Butler Snow LLP
          Crescent Center, Suite 500
          6075 Poplar Avenue, PO BOX 171443                        Evolve Bank & Trust
                                                    representing
          Memphis, TN 38187                                        (Creditor)
          901-680-7347
          jeb.bailey@butlersnow.com
            Assigned: 11/22/2022
          Brett Bakemeyer
          White & Case LLP
          1221 Avenue of the Americas
                                                                 Joint Provisional Liquidators of FTX Digital
          New York, NY 10020-1095
                                                    representing Markets Ltd. (In Provisional Liquidation)
          212-819-8200
                                                                 (Interested Party)
          brett.bakemeyer@whitecase.com
           Assigned: 11/22/2022
           LEAD ATTORNEY
          Jasmine Ball
          Debevoise & Plimpton LLP
          66 Hudson Boulevard
          New York, NY 10001                                       Paradigm Operations LP
                                                    representing
          212-909-6000                                             (Interested Party)
          212-909-6839 (fax)
          jball@debevoise.com
           Assigned: 12/19/2022



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          David M. Banker
          Montgomery McCracken Walker &
                                                                 Samuel L. Bankman-Fried
          Rhoads LLP
                                                                 c/o Montgomery McCracken Walker & Rhoads
          437 Madison Avenue
                                                                 1105 North Market Street, 15th Floor
          24th Floor
                                                    representing Wilmington, DE 19801
          New York, NY 10022
                                                                 3025047800
          (212) 867-9500
                                                                 gdonilon@mmwr.com
          (212) 599-5085 (fax)
                                                                 (Stockholder)
          dbanker@mmwr.com
           Assigned: 01/10/2023
          Jody C. Barillare
          Morgan, Lewis & Bockius LLP
          1201 North Market Street
          Suite 2201                                             Joint Provisional Liquidators of Emergent
          Wilmington, DE 19801                      representing Fidelity Technologies Ltd
          (302) 574-7294                                         (Liquidator)
          (302) 574-3001 (fax)
          jody.barillare@morganlewis.com
           Assigned: 01/03/2023
           Assigned: 02/13/2023                                  Emergent Fidelity Technologies Ltd.
                                                                 Unit 3B
                                                                 Bryson's Commercial Complex
                                                    representing Friars Hill Road
                                                                 St. John's
                                                                 Antigua and Barbuda
                                                                 (Interested Party)
          Brandon Batzel
          White & Case LLP
          1221 Avenue of the Americas
          Ste Office 2720                                          Peter Greaves
                                                    representing
          New York, NY 10020-1095                                  (Interested Party)
          212-819-7098
          brandon.batzel@whitecase.com
           Assigned: 12/27/2022
                                                                   Brian C. Simms
                                                                   (Interested Party)
                                                                   Kevin G. Cambridge
                                                                   (Interested Party)
          Ronald S. Beacher
          Pryor Cashman LLP
          7 Times Square                                         SPCP Group, LLC
          New York, NY 10036                        representing rbeacher@pryorcashman.com
          212-326-0148                                           (Creditor)
          212-515-6959 (fax)
          rbeacher@pryorcashman.com


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           Assigned: 04/14/2023
                                                                   SPCP Institutional Group, LLC
                                                                   rbeacher@pryorcashman.com
                                                                   (Creditor)
          Benjamin S Beller
          Sullivan & Cromwell LLP                                FTX Trading Ltd.
          125 Broad Street                                       10-00011 Mandolin Place, Friars Hill Road
          New York, NY 10004                        representing St. John's, AG AG-04
          212-558-4000                                           Antigua and Barbuda
          bellerb@sullcrom.com                                   (Debtor)
           Assigned: 02/02/2023
          Ward W. Benson
          United States Department of Justice
          Tax Division
          P.O. Box 227
                                                                 United States of America on behalf of the
          Ben Franklin Station
                                                    representing Internal Revenue Service
          Washington, DC 20044
                                                                 (Creditor)
          202-514-9642
          202-514-6866 (fax)
           Assigned: 12/12/2022
            TERMINATED: 01/26/2023
          Jeffrey Bernstein
          MCELROY, DEUTSCH, MULVANEY                             New Jersey Bureau of Securities
          & CARPENTER,                                           153 Halsey Street
          570 Broad Street                                       6th Floor
          Suite 1401                                             P.O. Box 47029
                                                    representing
          Newark, NJ 07102-4560                                  Newark, NJ 07102
          973-565-2183                                           United States
          973-622-5314 (fax)                                     973-504-3600
          jbernstein@mdmc-law.com                                (Creditor)
           Assigned: 02/14/2023
          Mark M. Billion
          Billion Law
          1073 S Governors Ave
                                                                 3Commas Technologies OU
          Dover, DE 19904
                                                    representing (Creditor)
          302.428.9400
                                                                 PRO SE
          302.450.4040 (fax)
           Assigned: 02/01/2023
            TERMINATED: 03/27/2023
                                                                   Nifty Island LLC
                                                                   (Creditor)
                                                                   PRO SE
          Gary D. Bressler                                         Philadelphia Indemnity Insurance Company
          McElroy, Deutsch, Mulvaney &              representing
                                                                   (Creditor)



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          Carpenter, LLP
          300 Delaware Ave.
          Suite 1014
          Wilmington, DE 19801
          302-300-4515
          302-654-4031 (fax)
          gbressler@mdmc-law.com
           Assigned: 11/18/2022
          Erin E. Broderick
          Eversheds Sutherland (US) LLP
          227 West Monroe Street, Suite 600
          Chicago, IL 60606                                      Ad Hoc Committee of Non-US Customers of
          (312) 724-9006                            representing FTX.com
          312-724-9322 (fax)                                     (Interested Party)
          erinbroderick@eversheds-
          sutherland.com
           Assigned: 12/04/2022
          James L. Bromley
          SULLIVAN & CROMWELL LLP
          125 Broad Street                                       FTX Trading Ltd.
          New York, NY 10004                                     10-00011 Mandolin Place, Friars Hill Road
          212-558-4000                              representing St. John's, AG AG-04
          212-558-3588 (fax)                                     Antigua and Barbuda
          bromleyj@sullcrom.com                                  (Debtor)
           Assigned: 11/14/2022
           LEAD ATTORNEY
           Assigned: 05/10/2023                                    Kevin G. Cambridge
                                                    representing
                                                                   (Interested Party)
                                                                   Brian C. Simms
                                                                   (Interested Party)
                                                                   Peter Greaves
                                                                   (Interested Party)
          Kimberly A. Brown
          Landis Rath & Cobb LLP
          919 N. Market Street
                                                                 FTX Trading Ltd.
          Suite 1800
                                                                 10-00011 Mandolin Place, Friars Hill Road
          PO Box 2087
                                                    representing St. John's, AG AG-04
          Wilmington, DE 19899
                                                                 Antigua and Barbuda
          302-467-4400
                                                                 (Debtor)
          302-467-4450 (fax)
          brown@lrclaw.com
           Assigned: 11/14/2022
          Elisabeth Michaelle Bruce                              United States of America on behalf of the
          Department of Justice                     representing Internal Revenue Service



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          P.O. Box 227
          Ben Franklin Station
          Washington, DC 20044
          202-598-0969                                             (Creditor)
          202-514-6866 (fax)
          elisabeth.m.bruce@usdoj.gov
           Assigned: 01/12/2023
          William A. Burck
          Quinn Emanuel Urquhart & Sullivan,
          LLP                                                    FTX Trading Ltd.
          51 Madison Avenue                                      10-00011 Mandolin Place, Friars Hill Road
          22nd Floor                                representing St. John's, AG AG-04
          New York, NY 10010                                     Antigua and Barbuda
          (212) 849-7000                                         (Debtor)
          williamburck@quinnemanuel.com
           Assigned: 11/22/2022
           Assigned: 11/22/2022                                    United States
                                                    representing
           TERMINATED: 11/22/2022                                  (Interested Party)
          Michael G. Busenkell
          Gellert Scali Busenkell & Brown, LLC
          1201 North Orange Street
          3rd Floor
                                                                   M 7 Holdings, LLC
          Wilmington, DE 19801                      representing
                                                                   (Interested Party)
          302.425.5812
          302.425.5814 (fax)
          mbusenkell@gsbblaw.com
           Assigned: 05/04/2023
          Aaron R. Cahn
          Carter Ledyard & Milburn LLP
          28 Liberty Street
          41st Floor
                                                                   Cohen K Investments, Ltd.
          New York, NY 10005                        representing
                                                                   (Creditor)
          212-238-8629
          212-732-3232 (fax)
          cahn@clm.com
           Assigned: 06/15/2023
                                                                   Pi 1.0 LP
                                                                   (Creditor)
                                                                   Pi-Crypto Ltd.
                                                                   (Creditor)
          Schuyler G. Carroll                                    Cedar Glade LP
          Loeb & Loeb LLP                                        Attn Robert Minkoff
          345 Park Avenue                           representing 600 Madison Ave., 17th Fl
          21st Floor                                             New York, NY 10022



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          New York, NY 10154
                                                                   646-979-4083
          212-407-4820
                                                                   rminkoff@cedargladecapital.com
          scarroll@loeb.com
                                                                   (Creditor)
           Assigned: 01/11/2023
          Frederick Chang
          RIMON, P.C.
          506 2nd Avenue
          Suite 1400                                               Bastion Worldwide Limited
                                                    representing
          Seattle, WA 98104                                        (Creditor)
          (206) 331-3231
          frederick.chang@rimonlaw.com
            Assigned: 11/30/2022
          Ashley Rona Chase
          WHITE & CASE LLP
          1221 Avenue of the Americas
          New York, NY 10020-1095                                  Brian C. Simms
                                                    representing
          212-819-8200                                             (Interested Party)
          212-354-8113 (fax)
          ashley.chase@whitecase.com
           Assigned: 05/08/2023
                                                                   Kevin G. Cambridge
                                                                   (Interested Party)
                                                                   Peter Greaves
                                                                   (Interested Party)
          Jacquelyn H. Choi
          Rimon, P.C.
          2029 Century Park East
          Suite 400N                                               Bastion Worldwide Limited
                                                    representing
          Los Angeles, CA 90067                                    (Creditor)
          310-525-5859
          jacquelyn.choi@rimonlaw.com
            Assigned: 11/30/2022
          Shawn M. Christianson
          Buchalter PC                                           Oracle America, Inc.
          425 Market St.                                         Buchalter PC
          Suite 2900                                             c/o Shawn M. Christianson
                                                    representing
          San Francisco, CA 94105-3493                           425 Market St., Suite 2900
          415-227-0900                                           San Francisco, Ca 94105
          schristianson@buchalter.com                            (Creditor)
           Assigned: 12/06/2022
          Albert A. Ciardi, III                                  Peter Lau
          Ciardi Ciardi & Astin                                  CIARDI CIARDI & ASTIN
          1905 Spruce Street                        representing 1905 Spruce Street
          Philadelphia, PA 19103                                 Philadelphia, PA 19103



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          215-557-3550
          215-557-3551 (fax)                                       215-557-3550
          aciardi@ciardilaw.com                                    aciardi@ciardilaw.com
           Assigned: 12/19/2022                                    (Interested Party)
           LEAD ATTORNEY
           Assigned: 12/19/2022                                  Charles Mason
           TERMINATED: 06/08/2023                                CIARDI CIARDI & ASTIN
                                                                 1905 Spruce Street
                                                    representing Philadelphia, PA 19103
                                                                 215-557-3550
                                                                 aciardi@ciardilaw.com
                                                                 (Interested Party)
          Scott D. Cousins
          Cousins Law, LLC
          1521 Concord Pike - Suite 301
                                                                   Evolve Bank & Trust
          Wilmington, DE 19801                      representing
                                                                   (Creditor)
          302-824-7081
          scott.cousins@cousins-law.com
           Assigned: 11/22/2022
          Jacob M. Croke
          Sullivan & Cromwell LLP                                FTX Trading Ltd.
          125 Broad Street                                       10-00011 Mandolin Place, Friars Hill Road
          New York, NY 10004                        representing St. John's, AG AG-04
          212-558-4000                                           Antigua and Barbuda
          crokej@sullcrom.com                                    (Debtor)
           Assigned: 11/21/2022
          Ileana Cruz
          Miami-Dade County Attorney's Office
          111 N.W. 1st Street
          Suite 2810
          Stephen P Clark Center                                   Miami-Dade County, Florida
                                                    representing
          Miami, FL 33128-1993                                     (Creditor)
          305-375-5296
          305-375-5611 (fax)
          ileanac@miamidade.gov
            Assigned: 11/22/2022
          Andrew J. Currie
          VENABLE LLP
          600 Massachusetts Avenue
          NW                                                       Digital Augean, LLC
                                                    representing
          New York, NY 10020                                       (Interested Party)
          212-307-5500
          ajcurrie@venable.com
           Assigned: 11/21/2022




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          Andrew J. Currie
          Venable LLP
          600 Massachusetts Avenue, NW                           Ad Hoc Committee of Customers and Creditors
          Washington, DC 20001                      representing of FTX Trading Ltd. et al.
          202-344-4000                                           (Creditor)
          ajcurrie@venable.com
           Assigned: 01/03/2023
          Andrew J. Currie
          VENABLE LLP
          600 Massachusetts Avenue
          NW
                                                                   Aux Cayes FinTech Co. Ltd.
          Washington, DC 20001                      representing
                                                                   (Interested Party)
          202-344-4000
          202-344-8300 (fax)
          ajcurrie@venable.com
           Assigned: 03/30/2023
          Andrew J. Currie
          Venable LLP
          600 Massachusetts Avenue, NW
          Washington, DC 20001                                     OKC USA Holding Inc.
                                                    representing
          202-344-4000                                             (Interested Party)
          202-344-8300 (fax)
          ajcurrie@venable.com
           Assigned: 03/30/2023
                                                                   Okcoin USA, Inc.
                                                                   (Interested Party)
          Brian Davidoff
          Greenberg Glusker Fields Claman et al.
          2049 Century Park East, Suite 2600
          Los Angeles, CA 90067-4590                             North America League of Legends
          310-553-3610                              representing Championship Series, LLC
          310-553-0687 (fax)                                     (Creditor)
          bdavidoff@greenbergglusker.com
           Assigned: 12/16/2022
           LEAD ATTORNEY
          Roma N Desai
                                                                 Texas Dept. of Banking
          Texas Office of Attorney General
                                                                 P.O. Box 12548
          300 West 15th Street
                                                                 Austin, TX 78711
          Austin, TX 78711                          representing
                                                                 5124632173
          512-475-3146
                                                                 5129361409 (fax)
          roma.desai@oag.texas.gov
                                                                 (Interested Party)
           Assigned: 02/01/2023
                                                                   Texas State Securities Board
                                                                   c/o Texas Attorney General
                                                                   Bankruptcy & Collections Division


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                                                                   P.O. Box 12548 MC 008
                                                                   Austin, TX 78711-2548
                                                                   (Interested Party)
           Roma N. Desai
           Office of the Attorney General
                                                                 Texas Dept. of Banking
           P.O. Box 12548
                                                                 P.O. Box 12548
           Bankruptcy & Collections Division
                                                                 Austin, TX 78711
           Austin, TX 78711-2548                    representing
                                                                 5124632173
           512-463-2173
                                                                 5129361409 (fax)
           512-936-1409 (fax)
                                                                 (Interested Party)
           Roma.Desai@oag.texas.gov
            Assigned: 11/22/2022
                                                                   Texas State Securities Board
                                                                   c/o Texas Attorney General
                                                                   Bankruptcy & Collections Division
                                                                   P.O. Box 12548 MC 008
                                                                   Austin, TX 78711-2548
                                                                   (Interested Party)
           Luc A. Despins
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           212-319-4090 (fax)
           lucdespins@paulhastings.com
            Assigned: 12/22/2022
           Caroline Diaz
           PAUL HASTINGS LLP
           200 Park Avenue
           NEW YORK, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           212-319-4090 (fax)
           carolinediaz@paulhastings.com
            Assigned: 01/20/2023
           Andrew G. Dietderich
           Sullivan & Cromwell LLP                               FTX Trading Ltd.
           125 Broad Street                                      10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                       representing St. John's, AG AG-04
           212-558-4000                                          Antigua and Barbuda
           dietdericha@sullcrom.com                              (Debtor)
            Assigned: 11/14/2022
            Assigned: 05/10/2023                                   Brian C. Simms
                                                    representing
                                                                   (Interested Party)




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                                                                 Kevin G. Cambridge
                                                                 (Interested Party)
                                                                 Peter Greaves
                                                                 (Interested Party)
           Gregory T. Donilon
           Montgomery McCracken Walker &                         Samuel L. Bankman-Fried
           Rhoads LLP                                            c/o Montgomery McCracken Walker & Rhoads
           1105 North Market Street, Suite 1500                  1105 North Market Street, 15th Floor
           Wilmington, DE 19801                     representing Wilmington, DE 19801
           (302) 504-7805                                        3025047800
           (215) 731-3740 (fax)                                  gdonilon@mmwr.com
           gdonilon@mmwr.com                                     (Stockholder)
            Assigned: 01/05/2023
           Joshua Dorchak
           Morgan, Lewis & Bockius, LLP
           101 Park Avenue
                                                                 Joint Provisional Liquidators of Emergent
           New York, NY 10178-0060
                                                    representing Fidelity Technologies Ltd
           212 309-6000
                                                                 (Liquidator)
           joshua.dorchak@morganlewis.com
            Assigned: 01/03/2023
            LEAD ATTORNEY
            Assigned: 02/13/2023                                 Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                        Unit 3B
                                                                 Bryson's Commercial Complex
                                                    representing Friars Hill Road
                                                                 St. John's
                                                                 Antigua and Barbuda
                                                                 (Interested Party)
           Amish R. Doshi
           Doshi Legal Group, P.C.                               Oracle America, Inc.
           1979 Marcus Avenue, Suite 210E                        Buchalter PC
           Lake Success, NY 11042                                c/o Shawn M. Christianson
                                                    representing
           516-622-2335                                          425 Market St., Suite 2900
           866-222-0162 (fax)                                    San Francisco, Ca 94105
           amish@doshilegal.com                                  (Creditor)
            Assigned: 03/04/2023
           Christopher J Dunne
           SULLIVAN & CROMWELL LLP
                                                                 FTX Trading Ltd.
           125 Broad Street
                                                                 10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004
                                                    representing St. John's, AG AG-04
           (212) 558-4000
                                                                 Antigua and Barbuda
           Dunnec@sullcrom.com
                                                                 (Debtor)
            Assigned: 01/27/2023
            LEAD ATTORNEY




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           Kenneth H. Eckstein
           Kramer Levin Naftalis & Frankel LLP
           1177 Avenue of the Americas
           New York, NY 10036                                      Official Committee of Unsecured Creditors
                                                    representing
           (212) 715-9100                                          (Creditor Committee)
           (212) 715-8000 (fax)
           keckstein@kramerlevin.com
            Assigned: 02/13/2023
           Jamie Lynne Edmonson
           Robinson+Cole LLP
           1201 North Market Street
           Suite 1406                                            North America League of Legends
           Wilmington, DE 19801                     representing Championship Series, LLC
           302-516-1705                                          (Creditor)
           302-516-1699 (fax)
           jedmonson@rc.com
             Assigned: 12/16/2022
           Philip H. Ehrlich
           Eversheds Sutherland (US) LP
           114 Avenue of the Americas
                                                                 Ad Hoc Committee of Non-US Customers of
           New York, NY 10036
                                                    representing FTX.com
           2123895000
                                                                 (Interested Party)
           philipehrlich@eversheds-
           sutherland.com
            Assigned: 12/04/2022
           Joseph B. Evans
           McDermott Will & Emery LLP
           1 Vanderbilt Avenue                                   Plan Administrator in Case No. 22-B-10943
           New York, NY 10017                                    (MEW) (U.S. Bankruptcy Court for the
                                                    representing
           212-547-5767                                          Southern District of New York)
           212-547-5444 (fax)                                    (Interested Party)
           jbevans@mwe.com
            Assigned: 06/21/2023
           David L. Finger
           Finger & Slanina, LLC
           One Commerce Center
           1201 N. Orange Street, 7th fl.
                                                                   Bloomberg L.P.
           Wilmington, DE 19801-1155                representing
                                                                   (Interested Party)
           302 573-2525
           302-573-2524 (fax)
           dfinger@delawgroup.com
            Assigned: 12/09/2022
                                                                   Dow Jones & Company, Inc.
                                                                   (Interested Party)




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                                                                   The Financial Times Ltd.
                                                                   (Interested Party)
                                                                   The New York Times Company
                                                                   (Interested Party)
           Thomas Joseph Francella, Jr.
           Whiteford
           600 North King Street
           Ste 300
                                                                   BH Trading Ltd.
           Wilmington, DE 19801                     representing
                                                                   (Interested Party)
           302-357-3277
           302-357-3261 (fax)
           TFrancella@whitefordlaw.com
            Assigned: 01/30/2023
                                                                   Grant Kim
                                                                   (Interested Party)
                                                                   Peter Kim
                                                                   (Interested Party)
           Mark Franke
           White & Case LLP
           1221 Avenue of the Americas
                                                                 Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                    representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                                 (Interested Party)
           mark.franke@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Daniel Friedberg
           1133 Bigelow Avenue North
           Seattle, WA 98109                                       Daniel Friedberg
                                                    representing
           206-372-8963                                            (Creditor)
           danielscottfriedberg@gmail.com
            Assigned: 01/19/2023
           Nicole Friedlander
           Sullivan & Cromwell
                                                                 FTX Trading Ltd.
           125 Broad Street
                                                                 10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004
                                                    representing St. John's, AG AG-04
           212-558-4000
                                                                 Antigua and Barbuda
           friedlandern@sullcrom.com
                                                                 (Debtor)
             Assigned: 11/21/2022
             LEAD ATTORNEY
           David Gerardi                                         U.S. Trustee
           Office of the United States Trustee                   Office of the United States Trustee
           One Newark Center                        representing J. Caleb Boggs Federal Building
           1085 Raymond Boulevard                                844 King Street, Suite 2207



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           Suite 2100                                              Lockbox 35
           Newark, NJ 07102                                        Wilmington, DE 19801
           David.Gerardi@usdoj.gov                                 (302)-573-6491
            Assigned: 02/01/2023                                   USTPRegion03.WL.ECF@USDOJ.GOV
                                                                   (U.S. Trustee)
           Jason A. Gibson
           The Rosner Law Group LLC
           824 Market Street, Suite 810
           Wilmington, DE 19801                                    DAG Holdings Limited
                                                    representing
           302-777-1111                                            (Interested Party)
           302-319-6318 (fax)
           gibson@teamrosner.com
            Assigned: 12/01/2022
                                                                   Ben Li
                                                                   (Interested Party)
                                                                   Chris Curl Lee
                                                                   (Interested Party)
                                                                   Haici Gao
                                                                   (Interested Party)
                                                                   Hongcheng Huang
                                                                   (Interested Party)
                                                                   Hongyuan Zhai
                                                                   (Interested Party)
                                                                   Huayang Zhou
                                                                   (Interested Party)
                                                                   Jingkuan Hou
                                                                   (Interested Party)
                                                                   Jyunyu Chen
                                                                   (Interested Party)
                                                                   Ke Wang
                                                                   (Interested Party)
                                                                   Lingling Li
                                                                   (Interested Party)
                                                                   Lu Yu
                                                                   (Interested Party)
                                                                   Qilin Chen
                                                                   (Interested Party)
                                                                   Shupei Chen
                                                                   (Interested Party)




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                                                                   Simin Jiang
                                                                   (Interested Party)
                                                                   Siyuan Yan
                                                                   (Interested Party)
                                                                   Tianqi Huang
                                                                   (Interested Party)
                                                                   Weiyang Zhou
                                                                   (Interested Party)
                                                                   Wenchao Tan
                                                                   (Interested Party)
                                                                   Xiao Li
                                                                   (Interested Party)
                                                                   Yan Tang
                                                                   (Interested Party)
                                                                   Yijian Feng
                                                                   (Interested Party)
                                                                   Yingkai Xu
                                                                   (Interested Party)
           Erez Gilad
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           212-319-4090 (fax)
           erezgilad@paulhastings.com
            Assigned: 12/22/2022
           Steven A. Ginther
           Missouri Dept. of Revenue
           301 W. High Street, Room 670                          Missouri Department of Revenue
           P.O. Box 475                                          Bankruptcy Unit
           Jefferson City, MO 65105-0475            representing PO Box 475
           573-751-5531                                          Jefferson City, MO 65105
           573-751-7232 (fax)                                    (Creditor)
           deecf@dor.mo.gov
            Assigned: 12/27/2022
           Brian D. Glueckstein
           Sullivan & Cromwell LLP                               FTX Trading Ltd.
           125 Broad Street                                      10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                       representing St. John's, AG AG-04
           212-558-4000                                          Antigua and Barbuda
           gluecksteinb@sullcrom.com                             (Debtor)
            Assigned: 11/14/2022


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            LEAD ATTORNEY
            Assigned: 05/10/2023                                   Brian C. Simms
                                                    representing
                                                                   (Interested Party)
                                                                   Kevin G. Cambridge
                                                                   (Interested Party)
                                                                   Peter Greaves
                                                                   (Interested Party)
           Michael C. Godbe
           Debevoise & Plimpton LLP
           66 Hudson Boulevard
                                                                 Lightspeed Strategic Partners I L.P. and
           New York, NY 10001
                                                    representing Lightspeed Opportunity Fund, L.P.
           212-909-6000
                                                                 (Creditor)
           212-909-6836 (fax)
           mgodbe@debevoise.com
            Assigned: 01/09/2023
           Eduardo W. Gonzalez
           Miami-Dade County, Florida
           111 N.W. First St.
           Suite 2810                                              Miami-Dade County, Florida
                                                    representing
           Miami, FL 33128                                         (Creditor)
           305-375-1057
           ewg@miamidade.gov
            Assigned: 11/22/2022
           John C Goodchild
           Morgan Lewis & Bockius LLP
           1701 Market St
                                                                 Joint Provisional Liquidators of Emergent
           Philadelphia, PA 19103-2921
                                                    representing Fidelity Technologies Ltd
           215 963 5000
                                                                 (Liquidator)
           jgoodchild@morganlewis.com
            Assigned: 01/03/2023
            LEAD ATTORNEY
            Assigned: 02/13/2023                                 Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                        Unit 3B
                                                                 Bryson's Commercial Complex
                                                    representing Friars Hill Road
                                                                 St. John's
                                                                 Antigua and Barbuda
                                                                 (Interested Party)
           Andrea L. Gordon
           Eversheds Sutherland (US) LLP
                                                                 Ad Hoc Committee of Non-US Customers of
           700 Sixth Street NW, Suite 700
                                                    representing FTX.com
           Washington, DC 20001
                                                                 (Interested Party)
           (202) 383-0100



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           202-637-3593 (fax)
           andreagordon@eversheds-
           sutherland.com
            Assigned: 12/04/2022
           Walter W. Gouldsbury, III
                                                                 Peter Lau
           Ciardi Ciardi & Astin
                                                                 CIARDI CIARDI & ASTIN
           1905 Spruce Street
                                                                 1905 Spruce Street
           Philadelphia, PA 19103
                                                    representing Philadelphia, PA 19103
           215-557-3550
                                                                 215-557-3550
           215-557-3551 (fax)
                                                                 aciardi@ciardilaw.com
           wgouldsbury@ciardilaw.com
                                                                 (Interested Party)
            Assigned: 12/19/2022
            Assigned: 12/19/2022                                 Charles Mason
            TERMINATED: 06/08/2023                               CIARDI CIARDI & ASTIN
                                                                 1905 Spruce Street
                                                    representing Philadelphia, PA 19103
                                                                 215-557-3550
                                                                 aciardi@ciardilaw.com
                                                                 (Interested Party)
           David M. Grable
           QUINN EMAURQUHART &
           SULLIVAN, LLP
                                                                 FTX Trading Ltd.
           865 South Figueroa Street
                                                                 10-00011 Mandolin Place, Friars Hill Road
           10th Floor
                                                    representing St. John's, AG AG-04
           Los Angeles, CA 90017
                                                                 Antigua and Barbuda
           213-443-3000
                                                                 (Debtor)
           213-443-3100 (fax)
            Assigned: 02/10/2023
             TERMINATED: 05/02/2023
           Kevin Gross
           Richards Layton & Finger
           One Rodney Square
           920 North King Street                                 Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                     representing Markets Ltd. (In Provisional Liquidation)
           302-651-7815                                          (Interested Party)
           302-651-7701 (fax)
           gross@rlf.com
            Assigned: 11/22/2022
           Benjamin A. Hackman                                   U.S. Trustee
           Office of the United States Trustee                   Office of the United States Trustee
           844 King Street                                       J. Caleb Boggs Federal Building
           Suite 2207                               representing 844 King Street, Suite 2207
           Lockbox 35                                            Lockbox 35
           Wilmington, DE 19801                                  Wilmington, DE 19801
           302-573-6491                                          (302)-573-6491



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           302-573-6497 (fax)
                                                                   USTPRegion03.WL.ECF@USDOJ.GOV
           benjamin.a.hackman@usdoj.gov
                                                                   (U.S. Trustee)
            Assigned: 11/14/2022
           Paul R. Hage
                                                                 Ikigai Opportunities Master Fund, Ltd.
           Taft, Stettinius & Hollister, LLP
                                                                 Attn: Taft Stettinius & Hollister, LLP
           27777 Franklin Road
                                                                 27777 Franklin, Suite 2500
           Ste 2500
                                                                 Southfield, MI 48034
           Southfield, MI 48034                     representing
                                                                 United States
           248-351-3000
                                                                 2487271543
           248-351-3082 (fax)
                                                                 phage@taftlaw.com
           phage@taftlaw.com
                                                                 (Creditor)
            Assigned: 01/03/2023
           Brandon M. Hammer
           Cleary Gottlieb Steen & Hamilton LLP                  BitGo Trust Company, Inc.
           One Liberty Plaza                                     C/O Ashby & Geddes, P.A.
           New York, NY 10006                                    500 Delaware Avenue
           (212) 225-2872                           representing 8th Floor
           (212) 225-3999 (fax)                                  P.O. Box 1150
           bhammer@cgsh.com                                      Wilmington, DE 19899
            Assigned: 12/08/2022                                 (Interested Party)
            LEAD ATTORNEY
           Mark W. Hancock
           Godfrey & Kahn, S.C.
           1 E. Main Street
           Ste. 500
                                                                   Fee Examiner Stadler
           Madison, WI 53703                        representing
                                                                   (Fee Examiner)
           608-284-2251
           608-257-0609 (fax)
           mhancock@gklaw.com
            Assigned: 03/20/2023
           Kristopher M. Hansen
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166
                                                                   Official Committee of Unsecured Creditors
           (212)318-6000                            representing
                                                                   (Creditor Committee)
           (212)319-4090 (fax)
           krishansen@paulhastings.com
            Assigned: 12/22/2022
            LEAD ATTORNEY
           Matthew B. Harvey
           Morris Nichols Arsht & Tunnell, LLP
           1201 North Market Street                              Ad Hoc Committee of Non-US Customers of
           P.O. Box 1347                            representing FTX.com
           16th Floor                                            (Interested Party)
           Wilmington, DE 19801



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           302-658-9200
           302-658-3989 (fax)
           mharvey@morrisnichols.com
            Assigned: 12/04/2022
           Paul N. Heath
           Richards Layton & Finger PA
           One Rodney Square
           920 North King Street
                                                                 Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801
                                                    representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700
                                                                 (Interested Party)
           302-651-7701 (fax)
           heath@rlf.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Paul Noble Heath
           Richards, Layton & Finger
           One Rodney Square
           920 North King Street                                 Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                     representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700                                          (Interested Party)
           302-651-7701 (fax)
           heath@rlf.com
            Assigned: 12/23/2022
           Robert Campbell Hillyer
           Butler Snow LLP
           Crescent Center, Suite 500
           6075 Poplar Avenue
                                                                   Evolve Bank & Trust
           PO BOX 171443                            representing
                                                                   (Creditor)
           Memphis, TN 38187
           901-680-7347
           cam.hillyer@butlersnow.com
            Assigned: 11/22/2022
           Marshal J. Hoda
                                                                 Warren Winter
           THE HODA LAW FIRM, PLLC
                                                                 c/o Foster Yarborough
           12333 Sowden Road
                                                                 917 Franklin Street
           Suite B
                                                    representing Suite 220
           Houston, TX 77080
                                                                 Houston, TX 77002
           832-848-0036
                                                                 713-331-5084
           marshal@thehodalawfirm.com
                                                                 (Creditor)
            Assigned: 01/06/2023
           Lynn Holbert
           Eversheds Sutherland (US) LLP                         Ad Hoc Committee of Non-US Customers of
           1114 Avenue of the Americas              representing FTX.com
           New York, NY 10036                                    (Interested Party)
           212.389.5000



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           212.389.5099 (fax)
           lynnholbert@eversheds-sutherland.com
            Assigned: 12/04/2022
           Steven L. Holley
           Sullivan & Cromwell LLP                               FTX Trading Ltd.
           125 Broad Street                                      10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                       representing St. John's, AG AG-04
           212-558-4000                                          Antigua and Barbuda
           holleys@sullcrom.com                                  (Debtor)
            Assigned: 05/18/2023
           James E. Huggett
           Margolis Edelstein
           300 Delaware Ave.                                     Oracle America, Inc.
           Suite 800                                             Buchalter PC
           Wilmington, DE 19801                                  c/o Shawn M. Christianson
                                                    representing
           U.S.A.                                                425 Market St., Suite 2900
           302-888-1112                                          San Francisco, Ca 94105
           302-888-1119 (fax)                                    (Creditor)
           jhuggett@margolisedelstein.com
            Assigned: 03/06/2023
           John F. Iaffaldano
           PAUL HASTINGS LLP
           200 Park Avenue
           NEW YORK, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           212-319-4090 (fax)
           jackiaffaldano@paulhastings.com
             Assigned: 01/19/2023
           Michael Ingrassia
           Morris Nichols Arsht and Tunnell
           1201 North Market Street
                                                                 Ad Hoc Committee of Non-US Customers of
           P. O. Box 1347
                                                    representing FTX.com
           Wilmington, DE 19899-1347
                                                                 (Interested Party)
           302-351-9304
           mingrassia@morrisnichols.com
            Assigned: 05/12/2023
           Peter A. Ivanick
           Eversheds Sutherland (US) LLP
           1114 Avenue of the Americas
                                                              Ad Hoc Committee of Non-US Customers of
           New York, NY 10036
                                                 representing FTX.com
           212.389.5000
                                                              (Interested Party)
           212.389.5099 (fax)
           peterivanick@eversheds-sutherland.com
            Assigned: 12/04/2022




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           Thomas T Janover
           Kramer Levin Naftalis & Frankel LLP
           1177 Avenue of the Americas
                                                                   DCP Master Investments XIV LLC
           New York, NY 10036                       representing
                                                                   (Creditor)
           212-715-9186
           tjanover@kramerlevin.com
             Assigned: 04/19/2023
            Assigned: 04/28/2023                                 DCP Master Investments XVI LLC
                                                                 55 Hudson Yards, Suite 29B
                                                    representing
                                                                 New York, NY 10001
                                                                 (Creditor)
           Charles M. Jones, II
           Haynes and Boone, LLP
           2323 Victory Avenue
           Suite 700
                                                                   BlockFi Inc and affiliates
           Dallas, TX 75219                         representing
                                                                   (Interested Party)
           (214) 651-5000
           214-651-5940 (fax)
           Charlie.Jones@haynesboone.com
            Assigned: 11/15/2022
           Scott D Jones
           Cousins Law LLC
           1521 Concord Pike
           Suite 301                                               Evolve Bank & Trust
                                                    representing
           Wilmington, DE 19801                                    (Creditor)
           302-824-7082
           scott.jones@cousins-law.com
            Assigned: 11/22/2022
           Maris J. Kandestin
           McDermott Will & Emery LLP
           1007 North Orange Street, 4th Floor                   Plan Administrator in Case No. 22-B-10943
           Wilmington, DE 19801                                  (MEW) (U.S. Bankruptcy Court for the
                                                    representing
           302-485-3900                                          Southern District of New York)
           302-351-8711 (fax)                                    (Interested Party)
           mkandestin@mwe.com
            Assigned: 06/20/2023
           Richard S. Kanowitz
           Haynes and Boone, LLP
           30 Rockefeller Plaza
           26th Floor
                                                                   BlockFi Inc and affiliates
           New York, NY 10112                       representing
                                                                   (Interested Party)
           (212) 659-7300
           212-918-8989 (fax)
           Richard.Kanowitz@haynesboone.com
            Assigned: 11/15/2022



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           Teddy M. Kapur
           Pachulski, Stang Ziehl and Jones LLP
           10100 Santa Monica Blvd. #1100
           13th Floor
                                                                   D1 Ventures
           Los Angeles, CA 90067- 4003              representing
                                                                   (Interested Party)
           (310)277-6910
           310-201-0760 (fax)
           tkapur@pszjlaw.com
            Assigned: 04/28/2023
           Ann M. Kashishian
           Kashishian Law LLC
           501 Silverside Road                                   Gabriel Recchia
           Suite 85                                              92 Union Lane
           Wilmington, DE 19809                     representing Cambridge CB4 1QB
           (484) 302-8417                                        United Kingdom
           (484) 930-0091 (fax)                                  (Interested Party)
           amk@kashishianlaw.com
            Assigned: 12/26/2022
           Richard S. Kebrdle
           White & Case LLP
           200 South Biscayne Blvd
           Suite 4900
                                                                 Joint Provisional Liquidators of FTX Digital
           Miami, FL 33131
                                                    representing Markets Ltd. (In Provisional Liquidation)
           305-371-2700
                                                                 (Interested Party)
           305-358-5744 (fax)
           rkebrdle@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Jared W Kochenash
           Young Conaway
           Rodney Square
           1000 N. King Street                                     Official Committee of Unsecured Creditors
                                                    representing
           Wilmington, DE 19801                                    (Creditor Committee)
           302-571-6700
           bankfilings@ycst.com
            Assigned: 01/19/2023
           Katherine Burghardt Kramer
           DGW Kramer LLP
           One Rockefeller Plaza
           Suite 1060                                              DAG Holdings Limited
                                                    representing
           New York, NY 10020                                      (Interested Party)
           917-688-2585
           kkramer@dgwllp.com
            Assigned: 12/02/2022




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                                                               Ben Li
                                                               (Interested Party)
                                                               Chris Curl Lee
                                                               (Interested Party)
                                                               Haici Gao
                                                               (Interested Party)
                                                               Hongcheng Huang
                                                               (Interested Party)
                                                               Hongyuan Zhai
                                                               (Interested Party)
                                                               Huayang Zhou
                                                               (Interested Party)
                                                               Jingkuan Hou
                                                               (Interested Party)
                                                               Jyunyu Chen
                                                               (Interested Party)
                                                               Ke Wang
                                                               (Interested Party)
                                                               Lingling Li
                                                               (Interested Party)
                                                               Lu Yu
                                                               (Interested Party)
                                                               Qilin Chen
                                                               (Interested Party)
                                                               Shupei Chen
                                                               (Interested Party)
                                                               Simin Jiang
                                                               (Interested Party)
                                                               Siyuan Yan
                                                               (Interested Party)
                                                               Tianqi Huang
                                                               (Interested Party)
                                                               Weiyang Zhou
                                                               (Interested Party)
                                                               Wenchao Tan
                                                               (Interested Party)




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                                                                   Xiao Li
                                                                   (Interested Party)
                                                                   Yan Tang
                                                                   (Interested Party)
                                                                   Yijian Feng
                                                                   (Interested Party)
                                                                   Yingkai Xu
                                                                   (Interested Party)
           Alexa J. Kranzley
           Sullivan & Cromwell LLP
                                                                 FTX Trading Ltd.
           125 Broad Street
                                                                 10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004-2498
                                                    representing St. John's, AG AG-04
           212-558-4000
                                                                 Antigua and Barbuda
           kranzleya@sullcrom.com
                                                                 (Debtor)
            Assigned: 11/14/2022
            LEAD ATTORNEY
           Robert J. Kriner, Jr
           Chimicles Schwartz Kriner &
           Donaldson-Smith LLP
           2711 Centerville Road
                                                                   Austin Onusz
           Suite 201                                representing
                                                                   (Interested Party)
           Wilmington, DE 19808
           302-656-2500
           rjk@chimicles.com
             Assigned: 05/03/2023
           M. Natasha Labovitz
           Debevoise & Plimpton LLP
           66 Hudson Boulevard
                                                                 Lightspeed Strategic Partners I L.P. and
           New York, NY 10001
                                                    representing Lightspeed Opportunity Fund, L.P.
           212-909-6000
                                                                 (Creditor)
           212-909-6836 (fax)
           nlabovitz@debevoise.com
            Assigned: 01/09/2023
           Adam G. Landis
           Landis Rath & Cobb LLP
           919 Market Street                                     FTX Trading Ltd.
           Suite 1800                                            10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19801                     representing St. John's, AG AG-04
           302-467-4400                                          Antigua and Barbuda
           302-467-4450 (fax)                                    (Debtor)
           landis@lrclaw.com
             Assigned: 11/11/2022




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           Jessica Lauria
           White & Case
           1221 Avenue of the Americas
                                                                 Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                    representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                                 (Interested Party)
           jessica.lauria@whitecase.com
             Assigned: 11/22/2022
             LEAD ATTORNEY
           Thomas E. Lauria
           White & Case LLP
           200 South Biscayne Boulevard
           Suite 4900                                            Joint Provisional Liquidators of FTX Digital
           Miami, FL 33131                          representing Markets Ltd. (In Provisional Liquidation)
           305-371-2700                                          (Interested Party)
           305-358-5744 (fax)
           tlauria@whitecase.com
             Assigned: 11/22/2022
           Melissa J. Lee
           Manier Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                                   Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                      representing
                                                                   (Creditor)
           615-742-9372
           615-242-4203 (fax)
           mlee@manierherod.com
            Assigned: 11/21/2022
           Katherine A. Lemire
           Quinn Emanuel Urquhart & Sullivan,
           LLP
                                                                 FTX Trading Ltd.
           51 Madison Avenue
                                                                 10-00011 Mandolin Place, Friars Hill Road
           22nd Floor
                                                    representing St. John's, AG AG-04
           New York, NY 10010
                                                                 Antigua and Barbuda
           212-849-7000
                                                                 (Debtor)
           katherinelemire@quinnemanuel.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Nicole A. Leonard
                                                                 New Jersey Bureau of Securities
           McElroy, Deutsch, Mulvaney &
                                                                 153 Halsey Street
           Carpenter,
                                                                 6th Floor
           225 Liberty Street
                                                                 P.O. Box 47029
           36th Floor                               representing
                                                                 Newark, NJ 07102
           New York, NY 10281
                                                                 United States
           973-565-2048
                                                                 973-504-3600
           nleonard@mdmc-law.com
                                                                 (Creditor)
            Assigned: 02/14/2023




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           Sidney P. Levinson
           DEBEVOISE & PLIMPTON LLP
           66 Hudson Blulevard
           New York, NY 10001                                      Paradigm Operations LP
                                                    representing
           (212) 909-6000                                          (Interested Party)
           212-909-6839 (fax)
           slevinson@debevoise.com
            Assigned: 12/19/2022
           Brian Loughnane
           Morgan Lewis & Bockius
           1201 Market Street
                                                                 Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801
                                                    representing FTX.com
           302-574-7268
                                                                 (Interested Party)
           brian.loughnane@morganlewis.com
            Assigned: 01/04/2023
             TERMINATED: 03/01/2023
           Matthew Barry Lunn
           Young, Conaway, Stargatt & Taylor LLP
           1000 North King Street
                                                              Official Committee of Unsecured Creditors
           Wilmington, DE 19801                  representing
                                                              (Creditor Committee)
           302-571-6600
           bankfilings@ycst.com
            Assigned: 12/22/2022
           Stephen Manning                                       WA State Dept of Financial Institutions
           Washington Attorney General                           Government Compliance & Enforcement
           PO Box 40100                                          1125 Washington Street SE
           Olympia, WA 98504                                     PO Box 40100
           360-534-4846                             representing Olympia, WA 98504-0100
           Stephen.Manning@atg.wa.gov                            United States
            Assigned: 12/05/2022                                 3605344846
                                                                 stephen.manning@atg.wa.gov
                                                                 (Interested Party)
           Samantha Martin
           Paul Hastings LLP
           220 Park Avenue
           New York, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           samanthamartin@paulhastings.com
            Assigned: 12/27/2022
            LEAD ATTORNEY
           Laura L. McCloud                                      TN Dept of Financial Institutions
           Tennessee Attorney General's Office                   c/o TN Attorney General's Office
           P.O. Box 20207                           representing Bankruptcy Division
           Nashville, TN 37202-0207                              P.O. Box 20207
           615-532-8933                                          Nashville, TN 37202-0207



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           615-741-3334 (fax)                                      615-532-2504
           agbankdelaware@ag.tn.gov                                615-741-3334 (fax)
            Assigned: 12/01/2022                                   (Creditor)
           James M. McDonald
           SULLIVAN & CROMWELL LLP                               FTX Trading Ltd.
           125 Broad Street                                      10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                       representing St. John's, AG AG-04
           212-558-4000                                          Antigua and Barbuda
           mcdonaldj@sullcrom.com                                (Debtor)
            Assigned: 11/21/2022
           Matthew B. McGuire
           Landis Rath & Cobb LLP
           P.O. Box 2087                                         FTX Trading Ltd.
           919 Market Street, Suite 1800                         10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19899                     representing St. John's, AG AG-04
           302-467-4400                                          Antigua and Barbuda
           302-467-4450 (fax)                                    (Debtor)
           mcguire@lrclaw.com
            Assigned: 02/14/2023
           John Daniel McLaughlin, Jr.
           McLaughlin Law Office LLC                             Warren Winter
           1521 Concord Pike                                     c/o Foster Yarborough
           Suite 202                                             917 Franklin Street
           Wilmington, DE 19803                     representing Suite 220
           302-557-1555                                          Houston, TX 77002
           302-300-4253 (fax)                                    713-331-5084
           jmclaughlin@ferryjoseph.com                           (Creditor)
            Assigned: 01/04/2023
            Assigned: 01/16/2023                                 Richard L. Brummond
                                                    representing Sacramento, CA
                                                                 (Creditor)
           Marcy J. McLaughlin Smith
           Troutman Pepper Hamilton Sanders
           LLP
           Hercules Plaza, Suite 5100
           1313 N. Market Street
                                                                   Paradigm Operations LP
           P.O. Box 1709                            representing
                                                                   (Interested Party)
           Wilmington, DE 19899-1709
           302-777-6535
           302-421-8390 (fax)
           Marcy.Smith@troutman.com
            Assigned: 12/19/2022
           Joseph James McMahon, Jr.                             U.S. Trustee
           United States Department of Justice      representing Office of the United States Trustee
           Office of the United States Trustee                   J. Caleb Boggs Federal Building



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           844 King Street, Suite 2207
                                                                   844 King Street, Suite 2207
           Lockbox #35
                                                                   Lockbox 35
           Wilmington, DE 19801
                                                                   Wilmington, DE 19801
           302-573-6491
                                                                   (302)-573-6491
           302-573-6497 (fax)
                                                                   USTPRegion03.WL.ECF@USDOJ.GOV
           joseph.mcmahon@usdoj.gov
                                                                   (U.S. Trustee)
            Assigned: 02/01/2023
           Stanton C. McManus
           P.O. Box 875
           Ben Franklin Station
                                                                   United States
           Washington, DC 20044                     representing
                                                                   (Interested Party)
           202-307-5832
           stanton.c.mcmanus@usdoj.gov
            Assigned: 11/21/2022
           Dennis A. Meloro
           Greenberg Traurig, P.A
           222 Delaware Avenue
           Suite 1600                                              Pateno Payments, Inc.
                                                    representing
           Wilmington, DE 19801                                    (Interested Party)
           302-661-7000
           melorod@gtlaw.com
            Assigned: 05/10/2023
           Evelyn J. Meltzer
           Troutman Pepper Hamilton Sanders,
           LLP
           Hercules Plaza
           Suite 5100
                                                                   Paradigm Operations LP
           1313 N. Market Street                    representing
                                                                   (Interested Party)
           Wilmington, DE 19899
           302-777-6500
           302-421-8390 (fax)
           Evelyn.Meltzer@troutman.com
            Assigned: 12/19/2022
           Frank Merola
           Paul Hastings LLP
           1999 Avenue of the Starts
           27th Floor
                                                                   Official Committee of Unsecured Creditors
           Center City, CA 90067                    representing
                                                                   (Creditor Committee)
           310.620.5700
           frankmerola@paulhastings.com
             Assigned: 01/05/2023
             LEAD ATTORNEY
           Layla Milligan                                        Texas Dept. of Banking
           Attorney General of Texas                representing P.O. Box 12548
           P.O. Box 12548                                        Austin, TX 78711



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           Bankruptcy & Collections Division
           Austin, TX 78711-2548
                                                                   5124632173
           512-463-2173
                                                                   5129361409 (fax)
           512-936-1409 (fax)
                                                                   (Interested Party)
           layla.milligan@oag.texas.gov
             Assigned: 11/22/2022
                                                                   Texas State Securities Board
                                                                   c/o Texas Attorney General
                                                                   Bankruptcy & Collections Division
                                                                   P.O. Box 12548 MC 008
                                                                   Austin, TX 78711-2548
                                                                   (Interested Party)
           Mark Minuti
           Saul Ewing LLP
           1201 North Market Street, Suite 2300
           P.O. Box 1266
                                                                   Pyth Data Association
           Wilmington, DE 19899                     representing
                                                                   (Creditor)
           302-421-6840
           302-421-6813 (fax)
           mark.minuti@saul.com
            Assigned: 06/14/2023
           Michael R. Morano
           McElroy, Deutsch, Mulvaney &
           Carpenter
           1300 Mount Kemble Ave.
           PO Box 2075                                             Philadelphia Indemnity Insurance Company
                                                    representing
           Morristown, NJ 07962                                    (Creditor)
           973-993-8100
           973-425-0161 (fax)
           mmorano@mdmc-law.com
            Assigned: 11/21/2022
           Michael Morris
           Wisconsin Department of Justice
                                                                 State of Wisconsin Dep't of Financial
           PO Box 7857
                                                                 Institutions
           17 West Main Street
                                                                 17 West Main
           Madison, WI 53707-7857                   representing
                                                                 P.O. Box 7857
           608-266-3636
                                                                 Madison, WI 53707
           608-267-2223 (fax)
                                                                 (Interested Party)
           Morrismd@doj.state.wi.us
            Assigned: 11/17/2022
           Isaac Nesser                                          FTX Trading Ltd.
           Quinn Emanuel Urquhart & Sullivan,                    10-00011 Mandolin Place, Friars Hill Road
           LLP                                      representing St. John's, AG AG-04
           51 Madison Avenue                                     Antigua and Barbuda
           New York, NY 10010                                    (Debtor)



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           212-849-7000
           212-849-7100 (fax)
           isaacnesser@quinnemanuel.com
             Assigned: 02/23/2023
           Anh Nguyen
           c/o Streusand Landon Ozburn &                         Cloudflare, Inc.
           Lemmon LLP                                            c/o Streusand, Landon, Ozburn & Lemmon
           1801 S. Mopac Expressway                              1801 S Mopac Expressway
           Suite 320                                             Suite 320
           Austin, TX 78746                         representing Austin, TX 78746
           512-236-9900                                          512-236-9901
           512-236-9904 (fax)                                    512-236-9904 (fax)
           anh.nguyen@lewisbrisbois.com                          streusand@slollp.com
            Assigned: 11/18/2022                                 (Creditor)
            LEAD ATTORNEY
           Daniel A. O'Brien
           Venable LLP
           1201 N. Market St.
           Suite 1400
                                                                   Digital Augean, LLC
           Wilmington, DE 19801                     representing
                                                                   (Interested Party)
           302-298-3523
           302-298-3550 (fax)
           daobrien@venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                                 Ad Hoc Committee of Customers and Creditors
                                                    representing of FTX Trading Ltd. et al.
                                                                 (Creditor)
            Assigned: 03/29/2023                                   Aux Cayes FinTech Co. Ltd.
                                                    representing
                                                                   (Interested Party)
                                                                   Okcoin USA, Inc.
                                                                   (Interested Party)
            Assigned: 03/29/2023                                   OKC USA Holding Inc.
                                                    representing
                                                                   (Interested Party)
           Aram Ordubegian
           Arent Fox LLP
           555 West Fifth Street, 48th Floor
           Los Angeles, CA 90013                                   BH Trading Ltd.
                                                    representing
           213-629-7400 x7410                                      (Interested Party)
           213-629-7401 (fax)
           Aram.Ordubegian@afslaw.com
            Assigned: 01/30/2023
                                                                   Grant Kim
                                                                   (Interested Party)



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                                                                   Peter Kim
                                                                   (Interested Party)
           Ricardo Palacio, Esq
           Ashby & Geddes, P. A.                                 BitGo Trust Company, Inc.
           500 Delaware Avenue                                   C/O Ashby & Geddes, P.A.
           8th Floor                                             500 Delaware Avenue
           Wilmington, DE 19801                     representing 8th Floor
           302-654-1888                                          P.O. Box 1150
           302-654-2067 (fax)                                    Wilmington, DE 19899
           RPalacio@ashbygeddes.com                              (Interested Party)
            Assigned: 12/08/2022
           Nicholas Alexander Pasalides
           Reich Reich & Reich P.C.
                                                                 Chainalysis Inc.
           235 Main Street, Suite 450
                                                                 c/o Reich Reich & Reich, P.C.
           White Plains, NY 10601
                                                    representing 235 Main Street, Suite 450
           914-949-2126
                                                                 White Plains, NY 10601
           914-949-1604 (fax)
                                                                 (Creditor)
           npasalides@eckertseamans.com
            Assigned: 11/16/2022
           Kenneth Pasquale
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166
                                                                   Official Committee of Unsecured Creditors
           (212)318-6000                            representing
                                                                   (Creditor Committee)
           (212)319-4090 (fax)
           kenpasquale@paulhastings.com
            Assigned: 12/22/2022
            LEAD ATTORNEY
            Assigned: 05/10/2023                                   Brian C. Simms
                                                    representing
                                                                   (Interested Party)
                                                                   Peter Greaves
                                                                   (Interested Party)
            Assigned: 05/10/2023                                   Kevin G. Cambridge
                                                    representing
            LEAD ATTORNEY                                          (Interested Party)
           Amy Patterson
           Georgia Department of Law- 02
           40 Capitol Square, SW                                 Georgia Department of Banking and Finance
           Atlanta, GA 30334-1300                                2990 Brandywine Rd. Suite 200
                                                    representing
           404-463-0189                                          Atlanta, GA 30341
           404-657-3239 (fax)                                    (Interested Party)
           apatterson@law.ga.gov
            Assigned: 12/13/2022




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           Sarah E. Paul
           Eversheds Sutherland (US) LLP
           114 Avenue of the Americas                            Ad Hoc Committee of Non-US Customers of
           New York, NY 10036                       representing FTX.com
           (212) 389-5000                                        (Interested Party)
           sarahpaul@eversheds-sutherland.com
            Assigned: 12/04/2022
           Steven R. Peikin
           SULLIVAN & CROMWELL LLP                               FTX Trading Ltd.
           125 Broad Street                                      10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                       representing St. John's, AG AG-04
           212-558-4000                                          Antigua and Barbuda
           peikins@sullcrom.com                                  (Debtor)
            Assigned: 11/21/2022
           Arie Peled
           Venable LLP
           1270 Avenue of the Americas, 24th Fl.
                                                                   Digital Augean, LLC
           New York, NY 10020                       representing
                                                                   (Interested Party)
           United States
           aapeled@venable.com
            Assigned: 11/21/2022
           Arie A. Peled
           VENABLE LLP
           151 West 42nd St.
           48th Floor
           New York, NY 10036                                      Aux Cayes FinTech Co. Ltd.
                                                    representing
           United States                                           (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           aapeled@venable.com
            Assigned: 03/30/2023
                                                                   OKC USA Holding Inc.
                                                                   (Interested Party)
                                                                   Okcoin USA, Inc.
                                                                   (Interested Party)
           Norman L. Pernick
           Cole Schotz P.C.
           500 Delaware Avenue
           Suite 1410                                            Lightspeed Strategic Partners I L.P. and
           Wilmington, DE 19801                     representing Lightspeed Opportunity Fund, L.P.
           302-652-3131                                          (Creditor)
           302-652-3117 (fax)
           npernick@coleschotz.com
            Assigned: 01/09/2023




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           Brian D. Pfeiffer
           White & Case LLP
           1221 Avenue of the Americas
                                                                 Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                    representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                                 (Interested Party)
           brian.pfeiffer@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Louis Phillips
           Kelly Hart & Hallman LLP
           301 Main Street
           Suite 1600
           Baton Rouge, LA 70801                                   Word of God Fellowship, Inc.
                                                    representing
           225-381-9643                                            (Creditor)
           225-336-9763 (fax)
           louis.phillips@kellyhart.com
            Assigned: 01/06/2023
            LEAD ATTORNEY
           Matthew R Pierce
           Landis Rath & Cobb LLP
           P.O. Box 2087                                         FTX Trading Ltd.
           919 Market Street, Suite 1800                         10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19899                     representing St. John's, AG AG-04
           302-467-4400 x452                                     Antigua and Barbuda
           302-467-4450 (fax)                                    (Debtor)
           Pierce@lrclaw.com
            Assigned: 11/14/2022
           Matthew R. Pierce
           Landis Rath & Cobb LLP
           919 Market Street
           Suite 1800                                            FTX Trading Ltd.
           Wilmington, DE 19801                                  10-00011 Mandolin Place, Friars Hill Road
           usa                                      representing St. John's, AG AG-04
           302-467-4400                                          Antigua and Barbuda
           302-467-4450 (fax)                                    (Debtor)
           Pierce@lrclaw.com
            Assigned: 11/14/2022
            LEAD ATTORNEY
           Thomas A. Pitta
           Emmet Marvin & Martin, LLP
           120 Broadway
           32nd Floor                                              Cadian Group Co.
           New York, NY 10271                       representing
                                                                   (Creditor)
           212-238-3000
           212-238-3100 (fax)
           tpitta@emmetmarvin.com



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            Assigned: 03/02/2023
           Robert F. Poppiti, Jr.
           Young, Conaway, Stargatt & Taylor,
           LLP
           1000 North King Street                                  Official Committee of Unsecured Creditors
                                                    representing
           Wilmington, DE 19801                                    (Creditor Committee)
           302-571-6600
           bankfilings@ycst.com
            Assigned: 12/24/2022
           Jeffrey S Price
           Manier & Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                                   Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                      representing
                                                                   (Creditor)
           615-742-9358
           615-242-4203 (fax)
           JPrice@manierherod.com
            Assigned: 11/21/2022
           David P. Primack
                                                                 New Jersey Bureau of Securities
           McElroy, Deutsch, Mulvaney &
                                                                 153 Halsey Street
           Carpenter, LLP
                                                                 6th Floor
           300 Delaware Ave.
                                                                 P.O. Box 47029
           Suite 1014                               representing
                                                                 Newark, NJ 07102
           Wilmington, DE 19801
                                                                 United States
           302-300-4515
                                                                 973-504-3600
           dprimack@mdmc-law.com
                                                                 (Creditor)
            Assigned: 02/13/2023
           David T Queroli
           Richards, Layton & Finger, P.A.
           One Rodney Square
           920 North King Street
                                                                 Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801
                                                    representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700
                                                                 (Interested Party)
           302-651-7701 (fax)
           queroli@rlf.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Sascha Rand
           Quinn Emanuel Urquhart & Sullivan
           LLP                                                   FTX Trading Ltd.
           51 Madison Avenue                                     10-00011 Mandolin Place, Friars Hill Road
           22nd Floor                               representing St. John's, AG AG-04
           New York, NY 10010                                    Antigua and Barbuda
           212-849-7000                                          (Debtor)
           sascharand@quinnemanuel.com



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            Assigned: 11/22/2022
            LEAD ATTORNEY
           John Reding                                           Illinois Department of Financial & Professional
           Illinois Attorney General's Office                    Regulation
           100 W. Randolph St., 13th Floor                       100 W Randolph St
           Chicago, IL 60601                                     Suite 13-00225
                                                    representing
           312-848-5380                                          Chicago
           john.reding@ilag.gov                                  3128485380
             Assigned: 12/01/2022                                john.reding@ilag.gov
                                                                 (Attorney)
           Sameen Rizvi
           Potter Anderson & Corroon LLP
           1313 N. Market Street
           6th Floor                                             Voyager Digital Holdings, Inc.
           Wilmington, DE 19801                     representing (Creditor)
           302-984-6155                                          PRO SE
           srizvi@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023
                                                                   Voyager Digital Ltd.
                                                                   (Creditor)
                                                                   PRO SE
                                                                   Voyager Digital, LLC and affiliates
                                                                   (Creditor)
                                                                   PRO SE
           Colin R. Robinson
           Pachulski Stang Ziehl & Jones LLP
           919 North Market Street
           17th Floor
                                                                   D1 Ventures
           Wilmington, DE 19801                     representing
                                                                   (Interested Party)
           302-778-6426
           302-562-4400 (fax)
           crobinson@pszjlaw.com
            Assigned: 04/28/2023
           Elizabeth A. Rodd
           McDERMOTT WILL & EMERY LLP
           200 Clarendon Street                                  Plan Administrator in Case No. 22-B-10943
           Boston, MA 02116                                      (MEW) (U.S. Bankruptcy Court for the
                                                    representing
           617-535-4040                                          Southern District of New York)
           617-535-3800 (fax)                                    (Interested Party)
           erodd@mwe.com
            Assigned: 06/21/2023
           Jennifer Rood                                           VT Department of Financial Regulation
           Vermont Department of Financial          representing
                                                                   (Creditor)



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           Regulati
           89 Main Street
           Third Floor
           Montpelier, VT 05620
           802-828-5672
           jennifer.rood@vermont.gov
             Assigned: 12/09/2022
           Jason H. Rosell
           Pachulski Stang Ziehl & Jones LLP
           One Sansome Street
           Suite 3430
                                                                   D1 Ventures
           San Francisco, CA 94104                  representing
                                                                   (Interested Party)
           415-263-7000
           jrosell@pszjlaw.com
             Assigned: 04/28/2023
             LEAD ATTORNEY
           Andrew John Roth-Moore
           Cole Schotz P.C.
           500 Delaware Avenue
           Suite 1410                                            Lightspeed Strategic Partners I L.P. and
           Wilmington, DE 19801                     representing Lightspeed Opportunity Fund, L.P.
           302-652-3131                                          (Creditor)
           302-652-3117 (fax)
           aroth-moore@coleschotz.com
            Assigned: 01/06/2023
           Samantha Ruppenthal                                   Mercedes-Benz Grand Prix Limited
           Foley & Lardner LLP                                   c/o Ashby & Geddes, P.A .
           90 Park Avenue                                        500 Delaware Avenue
           New York, NY 10016                       representing 8th Floor
           212-338-3402                                          P.O. Box 1150
           sruppenthal@foley.com                                 Wilmington, DE 19899
            Assigned: 01/24/2023                                 (Creditor)
           Abigail Rushing Ryan
           c/o Texas Attorney General's Office
                                                                 Texas Dept. of Banking
           Bankruptcy & Collections Division
                                                                 P.O. Box 12548
           P. O. Box 12548 MC-008
                                                                 Austin, TX 78711
           Ste Floor 8                              representing
                                                                 5124632173
           Austin, TX 78711-2548
                                                                 5129361409 (fax)
           512-475-4297
                                                                 (Interested Party)
           abigail.ryan@oag.texas.gov
            Assigned: 11/21/2022
                                                                   Texas State Securities Board
                                                                   c/o Texas Attorney General
                                                                   Bankruptcy & Collections Division
                                                                   P.O. Box 12548 MC 008



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                                                                   Austin, TX 78711-2548
                                                                   (Interested Party)
           Jeffrey S. Sabin
           Venable LLP
           1270 Avenue of the Americas
           New York, NY 10020                                      Digital Augean, LLC
                                                    representing
           212-503-0672                                            (Interested Party)
           212-307-5598 (fax)
           JSSabin@Venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                                 Ad Hoc Committee of Customers and Creditors
                                                    representing of FTX Trading Ltd. et al.
                                                                 (Creditor)
           Jeffrey S. Sabin
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                                   Aux Cayes FinTech Co. Ltd.
           New York, NY 10036                       representing
                                                                   (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           jssabin@venable.com
             Assigned: 03/30/2023
                                                                   OKC USA Holding Inc.
                                                                   (Interested Party)
                                                                   Okcoin USA, Inc.
                                                                   (Interested Party)
           Anthony M. Saccullo
           A M Saccullo Legal, LLC                               Celsius Network LLC
           27 Crimson King Drive                                 The Harley Building
           Bear, DE 19701                                        77-00079 New Cavandish Street
                                                    representing
           302-836-8877                                          London
           302-836-8787 (fax)                                    United Kingdom
           ams@saccullolegal.com                                 (Creditor)
            Assigned: 12/01/2022
           Christopher M. Samis
           Potter Anderson & Corroon LLP
           1313 N. Market Street, 6th Floor
           Wilmington, DE 19801                                  Voyager Digital Holdings, Inc.
           302-984-6050                             representing (Creditor)
           302-658-1192 (fax)                                    PRO SE
           csamis@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023




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                                                                   Voyager Digital Ltd.
                                                                   (Creditor)
                                                                   PRO SE
                                                                   Voyager Digital, LLC and affiliates
                                                                   (Creditor)
                                                                   PRO SE
           Juliet M. Sarkessian
                                                                 U.S. Trustee
           U.S. Trustee's Office
                                                                 Office of the United States Trustee
           844 King Street
                                                                 J. Caleb Boggs Federal Building
           Room 2207
                                                                 844 King Street, Suite 2207
           Lockbox #35
                                                    representing Lockbox 35
           Wilmington, DE 19801
                                                                 Wilmington, DE 19801
           302-573-6491
                                                                 (302)-573-6491
           302-573-6497 (fax)
                                                                 USTPRegion03.WL.ECF@USDOJ.GOV
           juliet.m.sarkessian@usdoj.gov
                                                                 (U.S. Trustee)
            Assigned: 11/11/2022
           Gabriel Sasson
           200 Park Avenue
                                                                   Official Committee of Unsecured Creditors
           New York, NY 10166                       representing
                                                                   (Creditor Committee)
           gabesasson@paulhastings.com
            Assigned: 12/22/2022
           Isaac Sasson
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                      Official Committee of Unsecured Creditors
                                                    representing
           212-318-6000                                            (Creditor Committee)
           212-319-4090 (fax)
           isaacsasson@paulhastings.com
             Assigned: 12/27/2022
            Assigned: 05/10/2023                                   Brian C. Simms
                                                    representing
                                                                   (Interested Party)
                                                                   Kevin G. Cambridge
                                                                   (Interested Party)
                                                                   Peter Greaves
                                                                   (Interested Party)
           Brendan Joseph Schlauch
           Richards, Layton & Finger, P.A.
           One Rodney Square
           920 North King Street                                 Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                     representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700 x7749                                    (Interested Party)
           302-651-7701 (fax)
           schlauch@rlf.com



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            Assigned: 12/09/2022
           Frederick E. Schmidt, Jr.
           Cozen O'Connor
           3 WTC, 175 Greenwich Street
           55th Floor
                                                                   BH Trading Ltd.
           New York, NY 10007                       representing
                                                                   (Interested Party)
           (212) 509-9400
           (646) 588-1552 (fax)
           eschmidt@cozen.com
            Assigned: 01/30/2023
                                                                   Grant Kim
                                                                   (Interested Party)
                                                                   Peter Kim
                                                                   (Interested Party)
           Douglas Schneller
           RIMON, P.C.
           245 Park Avenue
           39th Floor
                                                                   Contrarian Funds, LLC
           New York, NY 10167                       representing
                                                                   (Creditor)
           212-363-0270
           212-363-0270 (fax)
           douglas.schneller@rimonlaw.com
            Assigned: 04/21/2023
           Edward L. Schnitzer
           Montgomery McCracken Walker &
                                                                 Samuel L. Bankman-Fried
           Rhoads LLP
                                                                 c/o Montgomery McCracken Walker & Rhoads
           437 Madison Ave
                                                                 1105 North Market Street, 15th Floor
           24th Floor
                                                    representing Wilmington, DE 19801
           New York, NY 10022
                                                                 3025047800
           212-551-7781
                                                                 gdonilon@mmwr.com
           212-599-5085 (fax)
                                                                 (Stockholder)
           eschnitzer@mmwr.com
            Assigned: 01/10/2023
           Eric D. Schwartz
           Morris, Nichols, Arsht & Tunnell LLP
           1201 N.Market Street
           P. O. Box 1347                                        Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801                     representing FTX.com
           302-658-9200                                          (Interested Party)
           302-658-3989 (fax)
           eschwartz@mnat.com
            Assigned: 12/28/2022
           Lisa M. Schweitzer                                      M 7 Holdings, LLC
           Cleary Gottlieb Steen & Hamilton         representing
                                                                   (Interested Party)



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           One Liberty Plaza
           New York, NY 10006
           212-225-2629
           212-225-3999 (fax)
           lschweitzer@cgsh.com
             Assigned: 05/04/2023
           K. John Shaffer
           Quinn Emanuel Urquhart & Sullivan,
           LLP
                                                                 FTX Trading Ltd.
           865 S. Figueroa Street
                                                                 10-00011 Mandolin Place, Friars Hill Road
           10th Floor
                                                    representing St. John's, AG AG-04
           Los Angeles, CA 90017
                                                                 Antigua and Barbuda
           213-443-3000
                                                                 (Debtor)
           johnshaffer@quinnemanuel.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Seth B. Shapiro
           US Dept of Justice, Civil Division
           Comercial Litigation Branch
           1100 L Street, NW Rm 10002
           Washington, DC 20005                                    United States
                                                    representing
           usa                                                     (Interested Party)
           202-514-7164
           202-307-0494 (fax)
           seth.shapiro@usdoj.gov
            Assigned: 11/21/2022
           Jennifer R Sharret
           Kramer Levin Naftalis & Frankel
           1177 Avenue of the Americas
           New York, NY
                                                                   FTI Consulting Inc.
           212-715-9516                             representing
                                                                   (Interested Party)
           212-715-8000 (fax)
           jsharret@kramerlevin.com
             Assigned: 02/14/2023
             LEAD ATTORNEY
           Mark D. Sherrill
           Sutherland Asbill & Brennan LLP
           1001 Fannin Street
           Suite 3700                                         Ad Hoc Committee of Non-US Customers of
           Houston, TX 77002                     representing FTX.com
           713-470-6100                                       (Interested Party)
           713-654--1301 (fax)
           marksherrill@eversheds-sutherland.com
            Assigned: 12/04/2022




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           David K. Shim
           MORGAN, LEWIS & BOCKIUS LLP
           101 Park Ave.                                         Joint Provisional Liquidators of Emergent
           New York, NY 10178                       representing Fidelity Technologies Ltd
           212-309-6000                                          (Liquidator)
           david.shim@morganlewis.com
            Assigned: 01/03/2023
            Assigned: 02/13/2023                                 Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                        Unit 3B
                                                                 Bryson's Commercial Complex
                                                    representing Friars Hill Road
                                                                 St. John's
                                                                 Antigua and Barbuda
                                                                 (Interested Party)
           John Christopher Shore
           White & Case LLP
           1221 Avenue of the Americas
                                                                 Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                    representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                                 (Interested Party)
           cshore@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Peter A. Siddiqui
           Katten Muchin Rosenman LLP
           525 W. Monroe Street, Site 1900
           Chicago, IL 60661
                                                                   Pyth Data Association
           312-902-5455                             representing
                                                                   (Creditor)
           312-577-4628 (fax)
           peter.siddiqui@katten.com
            Assigned: 06/16/2023
            LEAD ATTORNEY
           Michael J. Small
           Foley & Lardner LLP                                   Mercedes-Benz Grand Prix Limited
           321 North Clark Street                                c/o Ashby & Geddes, P.A .
           Suite 3000                                            500 Delaware Avenue
           Chicago, IL 60654                        representing 8th Floor
           312-832-4500                                          P.O. Box 1150
           312-832-4700 (fax)                                    Wilmington, DE 19899
           msmall@foley.com                                      (Creditor)
            Assigned: 01/24/2023
           Martin A. Sosland
           Butler Snow LLP
           2911 Turtle Creek Blvd                                  Evolve Bank & Trust
                                                    representing
           Suite 1400                                              (Creditor)
           Dallas, TX 75219



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           469-680-5502
           4696805501 (fax)
           Martin.Sosland@butlersnow.com
            Assigned: 11/22/2022
           Benjamin Joseph Steele
           Kroll Restructuring Administration LLC              Kroll Restructuring Administration LLC
           (F/K/A Prime Clerk LLC)                             (f/k/a Prime Clerk LLC)
           55 East 52nd Street                                 Kroll.com
           17th Floor                             representing 55 East 52nd Street 17th Floor
           New York, NY 10055                                  New York, NY 10055
           212-257-5490                                        212-257-5450
           bsteele@primeclerk.com                              (Claims Agent)
            Assigned: 12/18/2022
           Sabrina L. Streusand
                                                                 Cloudflare, Inc.
           Streusand, Landon, Ozburn & Lemmon,
                                                                 c/o Streusand, Landon, Ozburn & Lemmon
           LLP
                                                                 1801 S Mopac Expressway
           1801 S. MoPac Expressway
                                                                 Suite 320
           Suite 320
                                                    representing Austin, TX 78746
           Austin, TX 78746
                                                                 512-236-9901
           512-236-9901
                                                                 512-236-9904 (fax)
           512-236-9904 (fax)
                                                                 streusand@slollp.com
           streusand@slollp.com
                                                                 (Creditor)
            Assigned: 11/18/2022
           Xochitl S. Strohbehn
           Venable LLP
           1270 Avenue of the Americas
           24th Floor
                                                                   Digital Augean, LLC
           New York, NY 10020                       representing
                                                                   (Interested Party)
           (212) 307-5500
           (212) 307-5598 (fax)
           xsstrohbehn@venable.com
            Assigned: 11/21/2022
           Xochitl S. Strohbehn
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                                   OKC USA Holding Inc.
           New York, NY 10036                       representing
                                                                   (Interested Party)
           2112-307-5500
           212-307-5598 (fax)
           xsstrohbehn@venable.com
            Assigned: 03/30/2023
                                                                   Okcoin USA, Inc.
                                                                   (Interested Party)
                                                                   Aux Cayes FinTech Co. Ltd.
                                                                   (Interested Party)



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           Aaron H. Stulman
           Potter Anderson & Corroon LLP
           1313 N. Market Street, 6th Floor
           Wilmington, DE 19801                                  Voyager Digital Holdings, Inc.
           302-984-6081                             representing (Creditor)
           302-658-1192 (fax)                                    PRO SE
           astulman@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023
                                                                   Voyager Digital Ltd.
                                                                   (Creditor)
                                                                   PRO SE
                                                                   Voyager Digital, LLC and affiliates
                                                                   (Creditor)
                                                                   PRO SE
           William D. Sullivan
           Sullivan Hazeltine Allinson LLC
           919 North Market Street, Suite 420
           Wilmington, DE 19801                                    Word of God Fellowship, Inc.
                                                    representing
           (302) 428-8191                                          (Creditor)
           (302) 428-8195 (fax)
           bsullivan@sha-llc.com
            Assigned: 12/12/2022
           Eric M. Sutty
           Armstrong Teasdale LLP
           1007 North Market Street
           Ste Third Floor                                         Miami-Dade County, Florida
                                                    representing
           Wilmington, DE 19801                                    (Creditor)
           302-416-9671
           esutty@atllp.com
            Assigned: 11/22/2022
           Judith Swartz
           Emmet, Marvin & Martin, LLP
           120 Broadway
           32nd Floor                                              Cadian Group Co.
                                                    representing
           New York, NY 10271                                      (Creditor)
           (212) 238-3000
           jswartz@emmetmarvin.com
             Assigned: 03/03/2023
           Gregory A. Taylor                                     Mercedes-Benz Grand Prix Limited
           Ashby & Geddes                                        c/o Ashby & Geddes, P.A .
           500 Delaware Avenue, 8th Floor                        500 Delaware Avenue
                                                    representing
           P.O. Box 1150                                         8th Floor
           Wilmington, DE 19899                                  P.O. Box 1150
           302-654-1888                                          Wilmington, DE 19899


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           302-654-2067 (fax)
           gtaylor@ashbygeddes.com                                 (Creditor)
            Assigned: 01/24/2023
           Paige Noelle Topper
           Morris Nichols Arsht & Tunnel
           1201 N. Market Street
                                                                 Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801
                                                    representing FTX.com
           302-658-9200
                                                                 (Interested Party)
           302-658-3989 (fax)
           ptopper@morrisnichols.com
            Assigned: 12/04/2022
           KatieLynn B Townsend
           Reporters Committee for Freedom of the
           Press
           1156 15th St. NW
                                                               Bloomberg L.P.
           Suite 1020                             representing
                                                               (Interested Party)
           Washington, DC 20005
           202-795-9300
           ktownsend@rcfp.org
            Assigned: 04/18/2023
                                                                   Dow Jones & Company, Inc.
                                                                   (Interested Party)
                                                                   The Financial Times Ltd.
                                                                   (Interested Party)
                                                                   The New York Times Company
                                                                   (Interested Party)
           Ethan Trotz
           Katten Muchin Rosenman LLP
           525 West Monroe Street
                                                                   Pyth Data Association
           Chicago, IL 60661-3693                   representing
                                                                   (Creditor)
           312-902-5516
           ethan.trotz@katten.com
            Assigned: 06/16/2023
           Scott M Tucker
           Chimicles Schwartz Kriner &
           Donaldson-Smith LLP
           2711 Centerville Road
                                                                   Austin Onusz
           Suite 201                                representing
                                                                   (Interested Party)
           Wilmington, DE 19808
           302-656-2500
           smt@chimicles.com
            Assigned: 03/29/2023




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                                                                   Cedric van Putten
                                                                   (Interested Party)
                                                                   Hamad Dar
                                                                   (Interested Party)
                                                                   Nicholas Marshall
                                                                   (Interested Party)
           Jane VanLare
                                                                 BitGo Trust Company, Inc.
           Cleary Gottlieb Steen & Hamilton LLP
                                                                 C/O Ashby & Geddes, P.A.
           One Liberty Plaza
                                                                 500 Delaware Avenue
           New York, NY 10006
                                                    representing 8th Floor
           (212) 225-2872
                                                                 P.O. Box 1150
           (212) 225-3999 (fax)
                                                                 Wilmington, DE 19899
           jvanlare@cgsh.com
                                                                 (Interested Party)
            Assigned: 12/08/2022
           Robert B. Wasserman
                                                                 Commodity Futures Trading Commission
           U.S. Commodity Futures Trading
                                                                 1155 21st Street NW
           Commissio
                                                                 Washington, DC 20016
           1155 21st Street NW
                                                    representing 202-993-1390
           Washington, DC 20581
                                                                 202-418-5567 (fax)
           202-418-5092
                                                                 mwhite@cftc.gov
           rwasserman@cftc.gov
                                                                 (Interested Party)
            Assigned: 05/04/2023
           Carol A. Weiner
           Venable LLP
           1270 Avenue of the Americas
           24th Floor
                                                                   Digital Augean, LLC
           New York, NY 10020                       representing
                                                                   (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           cweinerlevy@venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                                 Ad Hoc Committee of Customers and Creditors
            LEAD ATTORNEY                           representing of FTX Trading Ltd. et al.
                                                                 (Creditor)
           Carol A. Weiner
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                                   Aux Cayes FinTech Co. Ltd.
           New York, NY 10036                       representing
                                                                   (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           cweinerlevy@venable.com
            Assigned: 03/30/2023




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                                                                OKC USA Holding Inc.
                                                                (Interested Party)
                                                                Okcoin USA, Inc.
                                                                (Interested Party)
           Morris D. Weiss
           Holland & Knight LLP                                  Charles Mason
           100 Congress Avenue                                   CIARDI CIARDI & ASTIN
           Suite 1800                                            1905 Spruce Street
           Austin, TX 78701                         representing Philadelphia, PA 19103
           (512) 685-6417                                        215-557-3550
           512-685-6418 (fax)                                    aciardi@ciardilaw.com
           Morris.Weiss@wallerlaw.com                            (Interested Party)
            Assigned: 12/19/2022
                                                                Peter Lau
                                                                CIARDI CIARDI & ASTIN
                                                                1905 Spruce Street
                                                                Philadelphia, PA 19103
                                                                215-557-3550
                                                                aciardi@ciardilaw.com
                                                                (Interested Party)
           David A. Wender
           EVERSHEDS SUTHERLAND
           999 Peachtree Street, NE
           Suite 2300
                                                                 Ad Hoc Committee of Non-US Customers of
           Atlanta, GA 30309-3996
                                                    representing FTX.com
           404-853-8175
                                                                 (Interested Party)
           404-853-8806 (fax)
           davidwender@eversheds-
           sutherland.com
            Assigned: 05/15/2023
           Jonathan Michael Weyand
           Morris, Nichols, Arsht and Tunnell
           1201 N. Market St.
           16th Floor                                            Ad Hoc Committee of Non-US Customers of
           P.O. Box 1347                            representing FTX.com
           Wilmington, DE 19899-1347                             (Interested Party)
           302-553-5964
           jweyand@morrisnichols.com
            Assigned: 03/28/2023
           Martin B. White                                       Commodity Futures Trading Commission
           U.S. Commodity Futures Trading                        1155 21st Street NW
           Commission                                            Washington, DC 20016
                                                    representing
           1155 21st Street, N.W.                                202-993-1390
           Washington, DC 20581                                  202-418-5567 (fax)
           202-993-1390                                          mwhite@cftc.gov


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           202-418-5567 (fax)
           mwhite@cftc.gov                                         (Interested Party)
            Assigned: 05/01/2023
           Scott C. Williams
           Manier & Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                                   Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                      representing
                                                                   (Creditor)
           615-742-9370
           615-242-4203 (fax)
           swilliams@manierherod.com
            Assigned: 11/21/2022
           Christopher K.S. Wong
           Arent Fox LLP
           555 West Fifth Street
           48th Floor
                                                                   BH Trading Ltd.
           Los Angeles, CA 90013                    representing
                                                                   (Interested Party)
           213-629-7400
           213-629-7401 (fax)
           christopher.wong@arentfox.com
            Assigned: 01/30/2023
                                                                   Grant Kim
                                                                   (Interested Party)
                                                                   Peter Kim
                                                                   (Interested Party)
           Elie J. Worenklein
           Debevoise & Plimpton LLP
                                                                 Lightspeed Strategic Partners I L.P. and
           66 Hudson Boulevard
                                                    representing Lightspeed Opportunity Fund, L.P.
           New York, NY 10001
                                                                 (Creditor)
           eworenklein@debevoise.com
            Assigned: 01/09/2023
           Rongping Wu
           DGW Kramer LLP
           One Rockefeller Plaza
           Suite 1060
                                                                   DAG Holdings Limited
           New York, NY 10020                       representing
                                                                   (Interested Party)
           917-633-6860
           917-633-6183 (fax)
           lwu@dgwllp.com
            Assigned: 12/02/2022
                                                                   Ben Li
                                                                   (Interested Party)




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                                                               Chris Curl Lee
                                                               (Interested Party)
                                                               Haici Gao
                                                               (Interested Party)
                                                               Hongcheng Huang
                                                               (Interested Party)
                                                               Hongyuan Zhai
                                                               (Interested Party)
                                                               Huayang Zhou
                                                               (Interested Party)
                                                               Jingkuan Hou
                                                               (Interested Party)
                                                               Jyunyu Chen
                                                               (Interested Party)
                                                               Ke Wang
                                                               (Interested Party)
                                                               Lingling Li
                                                               (Interested Party)
                                                               Lu Yu
                                                               (Interested Party)
                                                               Qilin Chen
                                                               (Interested Party)
                                                               Shupei Chen
                                                               (Interested Party)
                                                               Simin Jiang
                                                               (Interested Party)
                                                               Siyuan Yan
                                                               (Interested Party)
                                                               Tianqi Huang
                                                               (Interested Party)
                                                               Weiyang Zhou
                                                               (Interested Party)
                                                               Wenchao Tan
                                                               (Interested Party)
                                                               Xiao Li
                                                               (Interested Party)




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                                                                   Yan Tang
                                                                   (Interested Party)
                                                                   Yijian Feng
                                                                   (Interested Party)
                                                                   Yingkai Xu
                                                                   (Interested Party)
           Patrick Yarborough
           Foster Yarborough PLLC                                Warren Winter
           917 Franklin Street                                   c/o Foster Yarborough
           Suite 220                                             917 Franklin Street
           Houston, TX 77002                        representing Suite 220
           (713) 331-5254                                        Houston, TX 77002
           (713) 513-5202 (fax)                                  713-331-5084
           patrick@fosteryarborough.com                          (Creditor)
            Assigned: 01/06/2023
           Jason Zakia
           White & Case LLP
           111 S. Wacker Drive
           Suite 5100                                              Brian C. Simms
                                                    representing
           Chicago, IL 60606                                       (Interested Party)
           312-881-5400
           jzakia@whitecase.com
             Assigned: 01/04/2023
           Jason N. Zakia
           White & Case LLP
           111 South Wacker Drive
           Suite 5100                                              Kevin G. Cambridge
                                                    representing
           Chicago, IL 60606                                       (Interested Party)
           312-881-5400
           jzakia@whitecase.com
             Assigned: 01/04/2023
                                                                   Peter Greaves
                                                                   (Interested Party)
           Matthew C. Ziegler
           Morgan Lewis & Bockius LLP
           1701 Market St                                        Joint Provisional Liquidators of Emergent
           Philadelphia, PA 19103                   representing Fidelity Technologies Ltd
           215-963-5000                                          (Liquidator)
           matthew.ziegler@morganlewis.com
            Assigned: 01/03/2023
            Assigned: 02/13/2023                                 Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                        Unit 3B
                                                    representing
                                                                 Bryson's Commercial Complex



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                                                                        Friars Hill Road
                                                                        St. John's
                                                                        Antigua and Barbuda
                                                                        (Interested Party)
           Celine E. de la Foscade-Condon
           Massachusetts Dept. of Revenue
                                                                     Massachusetts Department of Revenue
           100 Cambridge Street
                                                                     Litigation Bureau
           PO Box 9565
                                                                     100 Cambridge Street
           Boston, MA 02114                             representing
                                                                     PO Box 9565
           617-626-3854
                                                                     Boston, MA 02114
           617-626-3289 (fax)
                                                                     (Creditor)
           delafoscac@dor.state.ma.us
            Assigned: 01/04/2023


                                                      PACER Service Center
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